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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY
In Re:                                                                         Case No.:         16-21662

Brooke Tippens                                                                 Judge:            ____________________

                                                                               Chapter:                       13

                          Debtor(s)

                                            Chapter 13 Plan and Motions

          ☒ Original                        ☐ Modified/Notice Required                           ☒ Discharge Sought
          ☐ Motions Included                ☐ Modified/No Notice Required                        ☐ No Discharge Sought

          Date:    June 15, 2016

                                      THE DEBTOR HAS FILED FOR RELIEF UNDER
                                       CHAPTER 13 OF THE BANKRUPTCY CODE

                                           YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this
Plan or any motion included in it must file a written objection within the time frame stated in the Notice. This Plan may be
confirmed and become binding, and included motions may be granted without further notice or hearing, unless written
objection is filed before the deadline stated in the Notice.

                       YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                        IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                     THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM


 Part 1:     Payment and Length of Plan


         a. The debtor shall pay $     1000.00 per      month       to the Chapter 13 Trustee, starting on      July 1, 2016 for
approximately sixty (60) months.

         b. The debtor shall make plan payments to the Trustee from the following sources:

               ☒    Future earnings

               ☐    Other sources of funding (describe source, amount and date when funds are available):
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      c. Use of real property to satisfy plan obligations:

           ☐ Sale of real property
             Description:
              Proposed date for completion: ____________________

           ☐ Refinance of real property:
             Description:
             Proposed date for completion: ____________________

           ☐ Loan modification with respect to mortgage encumbering property:
             Description:
             Proposed date for completion: ____________________

      d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

      e. ☐ Other information that may be important relating to the payment and length of plan:




Part 2:     Adequate Protection

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $ ___2,367.10_______ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: _Fannie Mae__________________________ (creditor).

Part 3:     Priority Claims (Including Administrative Expenses)

      All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                  Type of Priority                            Amount to be Paid

 LeClair Ryan, P.C.                       Administrative                              To be determined

 Internal Revenue Service                 Tax                                         $3,722.41

 State of New Jersey                      Tax                                         $2,759.00




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Part 4:    Secured Claims

      a. Curing Default and Maintaining Payments
      The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:

Creditor             Collateral or        Arrearage            Interest Rate on     Amount to be          Regular Monthly
                     Type of Debt                              Arrearage            Paid to Creditor      Payment
                                                                                    (In Plan)             (Outside Plan)


Fannie Mae           First Mortgage       43,279.30            4.25%                48,117.00




      b. Modification
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                             NOTE: A modification under this Section ALSO REQUIRES
                           the appropriate motion to be filed under Section 7 of the Plan.


Creditor            Collateral   Scheduled        Total          Superior Liens      Value of          Annual     Total
                                 Debt             Collateral                         Creditor          Interest   Amount
                                                  Value                              Interest in       Rate       to be
                                                                                     Collateral                   Paid



N/A




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.



      c. Surrender
       Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:




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Creditor                                    Collateral to be Surrendered    Value of Surrendered      Remaining
                                                                            Collateral                Unsecured Debt




N/A


       d. Secured Claims Unaffected by the Plan
           The following secured claims are unaffected by the Plan:


       e. Secured Claims to be Paid in Full Through the Plan:

Creditor                                    Collateral                                     Total Amount to be
                                                                                           Paid Through the Plan


N/A



Part 5:    Unsecured Claims


       a. Not separately classified allowed non-priority unsecured claims shall be paid:
           ☐ Not less than $ _______________ to be distributed pro rata
           ☐ Not less than _______________ percent
           ☒ Pro Rata distribution from any remaining funds

      b. Separately classified unsecured claims shall be treated as follows:




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Creditor                               Basis For Separate Classification        Treatment                Amount to be Paid


N/A




Part 6:    Executory Contracts and Unexpired Leases

       All executory contracts and unexpired leases are rejected, except the following, which are assumed:

Creditor                                      Nature of Contract or Lease               Treatment by Debtor




N/A




Part 7:    Motions


NOTE: All plans containing motions must be served on all potentially affected creditors, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1.
A Certification of Service must be filed with the Clerk of Court when the plan and transmittal notice are served.


       a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).

       The Debtor moves to avoid the following liens that impair exemptions:


Creditor                 Nature of         Type of Lien       Amount of   Value of     Amount of    Sum of All    Amount of
                         Collateral                           Lien        Collateral   Claimed      Other Liens   Lien to be
N/A                                                                                    Exemption    Against the   Avoided
                                                                                                    Property




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      b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured.
      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor                       Collateral                     Amount of Lien
                                                              to be Reclassified




N/A




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured.
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:

Creditor                       Collateral                     Amount to be                   Amount to be
                                                              Deemed Secured                 Reclassified as Unsecured


N/A

Part 8:    Other Plan Provisions




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     a. Vesting of Property of the Estate
           ☒    Upon confirmation
           ☐    Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

      c. Order of Distribution
      The Trustee shall pay allowed claims in the following order:
           1) Trustee commissions
           2) _Allowed attorney fees ________________________________________
           3) _Secured creditors_________ _________________________________
           4) _Priority creditors_____________________________________________

           5) Unsecured creditors

      d. Post-Petition Claims
      The Trustee ☐ is, ☒ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in
the amount filed by the post-petition claimant.




Part 9:    Modification

      If this Plan modifies a Plan previously filed in this case, complete the information below.
      Date of Plan being Modified: _________________________.

Explain below why the plan is being modified:                  Explain below how the plan is being modified:




     Are Schedules I and J being filed simultaneously with this Modified Plan?          ☐ Yes       ☐ No

Part 10:       Sign Here




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The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.


Date:    June 15, 2016                                        /s/ Kim R. Lynch
                                                              Attorney for the Debtor


I certify under penalty of perjury that the above is true.


Date:     June 15, 2016                                        /s/ Brooke Tippens
                                                               Debtor


Date: ______________________________                          ______________________________
                                                              Joint Debtor




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